           Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 1 of 71 PageID #:467


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                                                                              . BR                    UTON
                           UNITED STATES DISTRICT COURT          THOMA.SDG  ISTRICT COU
                                                                                        RT
 2                                                          C LE R K , U .S
                    NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
 3
     UNITED STATES,
 4
                    Plaintiff,
 5
     vs.                                                 Case No.: 13-cr-844
 6
     HOWARD LEVENTHAL,
 7
                                                         JUDGE ANDREA R. WOOD
 8
                    Defendant

 9

10
           DEFENDANT’S SECOND MOTION FOR EARLY TERMINATION OF
11              SUPERVISED RELEASE UNDER 18 U.S.C. § 3583(e)(1)
12

13              NOW COMES DEFENDANT Howard E. Leventhal, a non-attorney acting pro se,

14   hereby respectfully submitting this Second Petition for Early Termination of Supervised Release,
15
     under 18 U.S.C. § 3583(e)(1). In support of this motion, Defendant states as follows:
16

17

18
                                              BACKGROUND
19
      1.     Leventhal hereby restates the factual assertions of his initial petition for early termination
20

21
      Doc No 15 and states further as follows: In December 2013 the defendant pled guilty to one

22    count of wire fraud and one count of aggravated identity theft in the interceding matter, Case

23    No. 13-cr-695(BMC) in the United States District Court, Eastern District of New York (the
24

25

26

27

28
     JUDGE ANDREA R. WOOD - 1
              Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 2 of 71 PageID #:468



 1       “EDNY Case”) 1. On September 12, 2015, fourteen months prior to sentencing, defendant was
 2
         remanded to custody of the Bureau of Prisons for alleged violations of conditions of pre-trial
 3
         release terms, denied by the defendant.
 4
         2.     On December 6, 2016, defendant was sentenced in the EDNY Case to 60 months
 5

 6       imprisonment to be followed by three years of supervised release 2, (See Exhibit A) with credit

 7       for time served in pre-sentence detention. Defendant was ultimately transferred to two
 8
         succeeding minimum security federal prison camps after spending 17 months in the maximum
 9
         security Metropolitan Detention Center, Brooklyn, NY; a facility referred-to in published
10
         reports by EDNY Federal Magistrate Judge Cheryl Pollak as being like a “Third World
11

12       Prison 3.”

13       3.     Subsequently Leventhal was transferred from Federal Prison Camp Duluth to a
14
         Residential Re-Entry Center in Chicago on April 12, 2019 and transferred to home
15
         confinement on May 16, 2019. Defendant’s period of imprisonment (per official record of the
16
         Bureau of Prisons) ended on December 12, 2019, the day his period of supervision by
17

18       Probation should have begun under controlling law. Defendant claims that inception of

19       supervision under authority of United States Probation actually began six months earlier,
20
         during late May or early June 2019. The Government disagrees.
21

22

23

24
     1
25
      Note that while this matter was originally filed in this court under this case number, it was almost
     immediately transferred to the United States District Court for the Eastern District of New York,
26   (EDNY) where the bulk of proceedings took place.
     2
       The sentencing court initially ordered 5 years of supervised release, however after being advised that the
27   law did not allow a term exceeding three years, amended the judgment downward to three years of
     supervised release. See amended Judgment of Conviction, EDNY Doc 177, Exhibit A hereto.
28   3
       See https://patch.com/new-york/sunset-park/federal-judge-appalled-third-world-brooklyn-prison
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 1       4.     Mr. Leventhal no longer wants to be on supervision and has filed two motions requesting
 2
         termination of his supervised release; the first filed in May 2020 in this matter 4 and the second
 3
         (instant) motion filed on November 4, 2020, to which Leventhal requests that the Court now
 4
         responds and rules.
 5

 6       5.     During the proceeding in this matter which took place on July 30, 2020, Mr. Leventhal’s

 7       currently-assigned NDIL Probation Officer Jay Nichols, while objecting to the earlier petition
 8
         for termination, stated on the record that he did not foresee any objection to granting a later
 9
         petition, provided that the effective date would be no earlier than December 12, 2020. The
10
         Government agreed.
11

12       6.     The Government stated two objections to Leventhal’s earlier petition: 1) That the

13       statutory minimum for early termination under 18 U.S.C. § 3583(e)(1) of one year under
14
         supervised release had not yet been met; and 2) that there was some (vaguely articulated) joint
15
         concern on behalf of both the Government and Probation that Leventhal had not complied with
16
         the sentencing court’s order for behavioral health care during supervised release. Over the four
17

18       months since the Government and Probation stated these two objections on the record, no new

19       objections, notices, complaints or filings on their parts expressing objection to terminating
20
         supervised release early have been asserted.
21
         7.     On December 12, 2020, according to the reckonings of this court, the Government and
22
         Probation, the statutory minimum of one year under 18 U.S.C. § 3583(e)(1) will be met in this
23

24       case, allowing for grant of early termination on said date.

25

26

27

28   4
         Denied without prejudice for being prematurely filed.
     JUDGE ANDREA R. WOOD - 3
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 1                                              DISCUSSION
 2
      8.     The Government and Probation have been on crystal clear notice that Leventhal is
 3
      seeking early termination for six months prior to this instant filing. There is no cause to allow
 4
      them to forward new objections now, should they attempt to do so.
 5

 6    9.     Leventhal's instant motion to terminate supervised release is based on § 3583(e)(1),

 7    which allows the Court under certain circumstances (presented here) to terminate a term of
 8
      supervised release "at any time after the expiration of one year of supervised release." 18
 9
      U.S.C. § 3583(e)(1). Section 3583 generally governs inclusion of supervised release after
10
      imprisonment and provides for specific terms of supervised release for various categories of
11

12    crimes, the factors to be considered by the court, conditions of supervised release, as well as

13    early termination, modification and revocation. In particular, "[t]he court may, after
14
      considering the factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(c), (a)(2)(D), (a)(4),
15
      (a)(5), (a)(6), and (a)(7)-terminate a term of supervised release and discharge the defendant
16
      released at any time after the expiration of one year of supervised release . . . if it is satisfied
17

18    that such action is warranted by the conduct of the defendant released and the interest of

19    justice." 18 U.S.C. § 3583(e)(1). "The language in this statute is discretionary, and the district
20
      court has wide discretion in determining whether to terminate an individual's term of
21
      supervised release." U.S. v. Hook, 471 F.3d 766, 771 (7th Cir. 2006).
22
      10.    At threshold, as of December 12, 2020, Leventhal meets the one-year requirement set
23

24    forth in section 3583(e)(1). As for Section 3553(a)(1) (the nature and circumstances of the

25    offense and the history and characteristics of the defendant), while the offenses for which
26
      Leventhal was convicted are serious, they are non-violent. It is significant that the Probation
27

28
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 1    Department's representation that Leventhal, who is 64 years of age, has meaningfully complied
 2
      with the Judgment of Conviction’s major terms of supervised release.
 3
      11.   Mr. Leventhal’s sworn, self-authored “Post Release Report,” (“PRR,” Exhibit B hereto)
 4
      (SEALED) shows that Leventhal maintains a stable residence, provides nearly 24/7 in-home
 5

 6    care for his 95 year old mother and is enrolled with low fee senior citizen status and financial

 7    aid covering the entire cost of a college program leading to a Bachelor of Science degree in
 8
      Architectural Engineering (Exhibit B). He has performed “tech-temp” temporary work
 9
      gainfully on occasion and receives Social Security retirement income. As a full-time
10
      undergrad engineering student, full-time elder caregiver and part time electronics technician,
11

12    Leventhal’s time is fully consumed with pro-social activities. He is under no pressure (like the

13    pressures he was under during commission of his criminal acts) for the daily expenses of
14
      living. None of the commonly widespread deleterious economic harm of the COVID Crisis
15
      have meaningfully affected him negatively, according to him. He and his mother occupy the
16
      same household, both qualify for and receive full coverage government-funded medical care as
17

18    well as more than sufficient retirement income, so there are no money pressures in the

19    defendant’s home. Moreover, Leventhal had no criminal history prior to his conviction on the
20
      present offense. On balance, these factors weigh in favor of early termination.
21
      12.   As for Section (a)(2)(B) (affording adequate deterrence to criminal conduct), the
22
      deterrent value of this case has been fully realized and that there is no longer any need to keep
23

24    Leventhal on supervised release. His offenses were non-violent and he served an extended

25    prison sentence. He will be within 8 days after the hearing on this instant motion, of
26
      completing one year towards his term of supervised release. He was compliant was court-
27
      imposed fees and restitution to the limit of his ability (see Exhibit B PRR).
28
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 1    13.   As for Section (a)(2)(C) (to protect the public from further crimes of the defendant), as
 2
      noted above, Leventhal is now less than one year to his 65th birthday. The likelihood of
 3
      recidivism by an over-65 offender is very low. See U.S. v. Nellum, No. 2:04-CR-30, 2005 WL
 4
      300073, at *3 (N.D. Ind. Feb. 3, 2005) (observing that "under § 3553(a)(2) (c), age of the
 5

 6    offender is plainly relevant to the issue of protecting the public from further crimes of the

 7    defendant.") (citation and internal quotation marks omitted). Moreover the Probation
 8
      Department indicates that Leventhal is on low-activity supervision because he qualifies as a
 9
      low-risk offender. His current pursuit of college-level education as a freshman among 18 year-
10
      olds, 45 years after dropping out of college, indicates newfound humility, pro-social,
11

12    contributory and productive inclinations. His employment and retirement income status

13    indicate that he has returned to a stable environment and therefore presents a lower risk of
14
      recidivism. These considerations weigh in favor of early termination.
15
      14.   As for Section (a)(2)(D) (to provide the defendant with needed medical care), Leventhal
16
      was materially neglected in terms of medical care for a serious medical condition. The
17

18    sentencing court made it perfectly clear to the Bureau of Prisons that Leventhal required

19    specialized medical care while imprisoned. Yet, there is nothing in Bureau of Prisons records
20
      establishing that he received any such care and no such care was provided. Rather, such care
21
      was actively and deliberately denied.
22
      15.   Although Leventhal states that he was re-certified medically as an FAA-licensed pilot
23

24    after release, according to subsequent medical testing and reports, he suffers serious

25    degradation and exacerbation of his principal medical condition as a result of neglect while
26
      imprisoned, according to his physician (Exhibit C). The most clear and present consequence of
27
      this degradation has arisen from the extraordinarily elevated number of bathroom trips which
28
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 1    Leventhal must suffer daily – which produces the further collateral effect of rendering
 2
      Leventhal’s earlier-expressed wish and intent to pursue a post-release career as a flight
 3
      instructor providing “dual” instruction in small aircraft without lavatories, nearly impossible
 4
      and surely impractical.
 5

 6    16.   While Leventhal may or may not be in the final stages of life, it is likely that medical

 7    neglect during incarceration shortened his life expectancy. These considerations also weigh in
 8
      favor of early termination. See Nellum, 2005 WL 300073, at *4 (observing that Section
 9
      3553(a)(2) requires judges to impose sentences that effectively provide the defendant with
10
      needed medical care).
11

12    17.   Both the Government and Probation claimed in the previous early termination proceeding

13    that Leventhal has somehow himself been non-compliant, un-cooperative or refused to comply
14
      with the Court’s order regarding mental health care. Rather in fact, Leventhal in terms of
15
      provider encounter frequency has exceeded Probation’s requirement (Exhibit B PRR).
16
      Moreover Leventhal claims that Probation initially assigned an unlicensed, unqualified social
17

18    worker to him, that said social worker was not only one third his age, unfamiliar with patients

19    of his background but also, although “a perfectly respectable young woman” not up to the task
20
      of providing any useful therapy to Mr. Leventhal, according to him. The successor (qualified,
21
      licensed) psychotherapist’s report (Exhibit D) indicates that Leventhal is in more than full
22
      compliance with the court’s sentencing order in terms of frequency of treatment sessions,
23

24    which mandates no particular clinical outcome. Said report also suggests that Leventhal would

25    benefit on a clinical behavioral level from termination of supervised release without delay and
26
      that continued supervision would be harmful to Mr. Leventhal.
27

28
     JUDGE ANDREA R. WOOD - 7
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 1       18.   Family ties are pertinent under § 3553(a). Nellum, 2005 WL 300073, at *4. Mr.
 2
         Leventhal forcefully claims in numerous filings on record in this court during 2020 that his
 3
         “cherished relationship with his beloved daughter” was deliberately destroyed by EDNY
 4
         Government and Probation personnel – as a quid pro quo provided to Mary Handeland, his
 5

 6       second ex-wife 5 for perjured testimony during the sentencing phase of the EDNY Case.

 7       19.   In summary, Leventhal claims that Handeland (adoptive mother of his adopted daughter)
 8
         was coached and suborned to perjury by the EDNY Prosecutor and EDNY Probation’s PSR
 9
         writer to falsely advise the sentencing court 1) That Leventhal’s medical condition was not as
10
         serious as Leventhal claimed; and 2) That Leventhal presented some sort of threat to his
11

12       daughter. Leventhal contradicts and his many personal reference letters (Exhibit E) support,

13       that for the entire duration of his adopted daughter’s life prior to being cut off from her by
14
         Probation, neither his ex-wife nor any other person ever once wrote or uttered a single word to
15
         him or about him in the remotest way suggesting that he (Leventhal) posed any sort of threat to
16
         his daughter – and that rather, diametrically the opposite is true. This offensive, globally false,
17

18       ludicrous, fictitious set of accusations were concocted by EDNY personnel according to

19

20

21
     5
       Leventhal claims that his divorce proceeding from Mary Handeland, in Handeland v. Leventhal, Case No.
22   05 D 808, 19th Judicial Circuit Court, Lake County, Illinois was hotly contested and ran as one of the longest
     duration unresolved divorce cases in local history; and that Handeland concealed, among other things, a
23   drug trafficking arrest of herself, a suicide attempt, “decades” of premarital antipsychotic prescription drug
24
     use and other psychiatric treatment – serious, material, core issues in adoption and nothing of which was
     disclosed to either the Defendant, the PRC Government or the U.S. State Department prior to international
25   adoption of Defendant’s daughter in China. Defendant further claims that this failure to disclose constituted
     a federal felony on the part of his ex-wife, under 18 USC § 1001, False Claims in federal proceeding, for
26   the singular purpose of perpetrating theft by deception of enormous sums of money, assets and parental
     rights from Leventhal. Defendant further claims that part and parcel to the quid pro quo delivered to
27   Handeland by the Government and Probation for Handeland’s perjury in this matter, amounted to
     furtherance of concealment of these crimes, by isolating the Defendant in prison for “as long as possible”
28   (see Handeland’s sealed letters to the sentencing judge in record of the EDNY case, during 2016).
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 1    Leventhal’s analysis and interpretation, solely for purposes of committing fraud upon the
 2
      sentencing court by the Government, making a fool of the sentencing judge to (successfully)
 3
      produce and publicize Leventhal’s unduly lengthy sentence, to self-promote and self-amplify
 4
      the prosecutor’s monetary income in his current, post-public-service private practice - with no
 5

 6    basis in fact whatsoever. The Government denied none of this in its answer to Leventhal’s

 7    original petition for early termination and therefore has admitted these allegations as true.
 8
      20.   The medical consequences suffered by Leventhal while neglected in prison speak for
 9
      themselves as to the falsity of the ex-wife’s claim that Leventhal exaggerated assertions about
10
      his medical condition prior to imprisonment. Nothing of Mr. Leventhal’s allegations as
11

12    summarized in the above two paragraphs and asserted in his earlier petition have been denied

13    by the Government; therefore the court is obliged to deem them true. The court must accept as
14
      true all undenied factual assertions in the (litigant’s) submissions and resolve all disputes
15
      regarding relevant facts in the (litigant’s) favor. John Walker and Sons, Ltd. v. DeMert
16
      Dougherty, Inc., 821 F.2d 399, 402 (7th Cir. 1987); Oce-Office Systems, Inc. v. Eastman Kodak
17

18    Co.,805 F. Supp. at 643; Neiman v. Rudolf Wolff Co., 619 F.2d at 1190; Hexacomb v. Damage

19    Prevention Products, (N.D.Ind. 1995), 905 F. Supp. 557, 560 (N.D. Ind. 1995)]. These
20
      considerations weigh in favor of early termination, particularly so that Mr. Leventhal may
21
      attempt to re-establish contact with his daughter while she is still in college and still resides
22
      within driving distance of him, without further interference by the Probation Department.
23

24    21.   As for Section (a)(7) (the need to provide restitution), according to his sworn Post-

25    Release Report (Exhibit B), Leventhal has paid more than the amount of restitution mandated
26
      by the terms of supervised release. He expresses a wish and intent to continue paying
27
      restitution to whatever extent is practical and manageable, directly to his victims regardless of
28
     JUDGE ANDREA R. WOOD - 9
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 1       any order compelling him to do so, for among other reasons, he has no confidence in the
 2
         Government to competently, properly or correctly distribute such funds.
 3
         22.   As to satisfying the principles set forth in the Sentencing Guidelines and 18 U.S.C.
 4
         § 3553(a) regarding the need to avoid sentencing disparities 6 and the principle of sentencing
 5

 6       “not greater than necessary,” two closely and directly comparable cases which produced

 7       sentences orders of magnitude less harsh than that imposed in this case. The first, in the same
 8
         district and court where Leventhal was sentenced is Case No. 11-CR-255, United States
 9
         District Court Eastern District Of New York in United States v. Klein. The second is U.S. v.
10
         Matassa, Case No. 17 CR 373 before Judge Matthew Kennelly of this court.
11

12       23.   Matassa’s PSR writer penned the following statement about Matassa: “Defendant is a

13       Chicago native who had a seemingly normal upbringing 7,” when in fact Matassa and his family
14
         according to decades of published newspaper reports, were publicly identified innumerable
15
         times as being high ranking members of a Chicago Organized Crime family. See Chicago
16
         Tribune article June 22, 2019: “Reputed 'made’ member of Chicago Outfit given 6 months in
17

18       prison for embezzling from union” 8.

19       24.   Neither Howard Leventhal nor any known member of his family going back to their
20
         immigration into the United States in the late 1800s, had ever once entered a criminal court,
21
         aside from traffic, claims Leventhal. Matassa stole irreplaceable labor union retirement and
22

23

24

25
     6
       18 U.S.C. Section 3553(a)(6) requires sentencing judges in federal court to consider "the need to avoid
26   unwarranted sentence disparities among defendants with similar records who have been found guilty of
     similar conduct."
27   7
       1:17-cr-00373 Document #: 67, Page 10 of 16 Page ID #:774
     8
       https://www.chicagotribune.com/news/criminal-justice/ct-reputed-chicago-mob-figure-sentencing-
28   20190722-kahyuutmzvc7jpnu6uqvc6oiz4-story.html
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 1    medical funds for his personal consumption. Leventhal claims that he committed his
 2
      admittedly criminal acts to fund an authentic technology development company under
 3
      desperate circumstances in the aftermath of the 2008 stock market crash, while supporting
 4
      three families including one with a dying (earlier) ex-spouse who needed otherwise
 5

 6    unobtainable 24/7/365 care. He also claims that he took extraordinary care to make certain that

 7    his victims could withstand and recover from the losses he produced; not that any of this
 8
      excuses the criminal conduct to which the defendant admitted.
 9
      25.   John “Pudgy” Matassa’s age at the time of sentencing was within a few years of
10
      Leventhal’s age at sentencing. Both had serious medical issues yet the prosecutor in Matassa’s
11

12    case did not waste more than a year of Matassa’s life trying to invalidate the presence of these

13    issues, as the prosecutor did in Leventhal’s case, producing manifest physical harm in the
14
      present day to Leventhal. Decades of published reports show that Mr. Matassa was a lifelong
15
      professional criminal from a family of lifelong professional criminals. Matassa was sentenced
16
      to 6 months versus the 60-month sentence for Leventhal. Matassa’s parent-child relationship
17

18    was not deliberately destroyed by the Government and Probation as a quid pro quo for a

19    confidential informant’s perjury, as Leventhal’s was. This comparison establishes a gross and
20
      unwarranted sentencing disparity of 1,000% when measured in simple numbers. It is
21
      exceedingly difficult however in practical terms, to precisely enumerate the harm caused to
22
      Leventhal and his daughter, by the deliberate destruction of his relationship with his daughter –
23

24    not suffered by Matassa. The Matassa comparison however pales in comparison to Klein.

25

26

27

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     JUDGE ANDREA R. WOOD - 11
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 1        26.   Philip Klein was in the same age range at sentencing as Matassa and Leventhal, also with
 2        serious medical conditions 9. Klein embezzled funds allocated for the support of children and
 3        federal Head Start Program monies. To the extent monies obtained illegally by Leventhal were

 4
          not used for bona fide business expenses, the remainder was used (according to Leventhal) to
          support an ex-spouse afflicted with Multiple Sclerosis dying in agony and the humiliation of
 5
          the loss of body function control; as well as Leventhal’s aged parents, his daughter adopted as
 6
          an abandoned foundling in China; and Leventhal’s stepchildren. Klein was sentenced to one
 7
          day of imprisonment – an unwarranted sentencing disparity of 1,825 times or 182,500%
 8
          versus Leventhal.
 9        27.   What explains these disparities? Mr. Leventhal expresses an unsupported misconduct
10
          conspiracy theory, however the sentencing disparities speak for themselves to establish that the
11
          sentence in Leventhal’s case was far greater than necessary, particular in light of the deliberate
12

13
          destruction of relationship between the Defendant and his only child, which the Government

14        has not denied was planned and executed by EDNY Prosecution and Probation, among others.
15        It is unsurprising from Leventhal’s viewpoint, that he is repulsed by the thought of any
16
          ongoing contact whatsoever with Probation personnel going forward.
17
          28.   Lastly, the public interest is best served by terminating Leventhal's supervised release
18
          because this will allow the Probation Department to invest the public's limited resources on
19
          those who are truly in need of supervision. Due to the current Coronavirus Crisis especially,
20
          Probation staffers are quoted on public record 10 stating that an above normal rate of early
21

22
          releases of vulnerable prisoners have placed them (probation officers) under an excess,

23        unmanageable burden. There is no benefit to be derived by maintaining supervision at public

24        expense over someone like Leventhal who has shown himself to be beyond the need for

25

26

27   9
       See “Amended Statement of Reasons” in Klein case, dated December 27, 2011.
     10
        See for example: https://www.themarshallproject.org/2020/04/03/probation-and-parole-officers-are-
28   rethinking-their-rules-as-coronavirus-spreads
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 1    supervision, to have been directly harmed by Probation officers without justification or legal
 2    basis and to whom some minimal opportunity is surely due, to re-establish some manner of
 3    contact and relationship with this daughter, which has been unduly barricaded-against by
 4
      Probation itself, while reconnection may remain practicable and possible.
 5
      29.   As to the yellow-highlighted passages of Leventhal’s proposed order (Exhibit F),
 6
      Leventhal requests that this language or language similar to it is necessary for inclusion in the
 7
      court’s published order – so that in light of all the falsities and outlandishly exaggerated media
 8
      hype self-generated by the Government in this matter for purely, solely commercial, career
 9
      promotion purposes of individual DOJ and Probation public servants – Leventhal may have
10
      some officially sourced evidence at his disposal as a foundation upon which to begin correcting
11
      the record in the mind of the only person whose personal beliefs matter to him for the
12
      remainder of his life: his daughter.
13
                                                  PRAYER
14

15             Defendant Howard Leventhal respectfully requests and prays that this Second Motion

16
     for Early Termination of Supervised Release is GRANTED to be effective 12:01AM CT
     December 12, 2020; and that language reasonably similar to that of the Exhibit F proposed order
17
     is incorporated in this court’s ruling responding to this motion.
18

19
               RESPECTFULLY SUBMITTED,
20

21

22

23

24             _____________________________ Date: November 4, 2020

25
               Howard Leventhal
               Defendant pro se
26

27

28
     JUDGE ANDREA R. WOOD - 13
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 1
                                 INDEX TO EXHIBITS
 2

 3     Exhibit    Description
         A        (Amended) Judgment of Conviction, Doc No. 177 in the EDNY Case
 4       B        Defendant’s Sworn Post-Release Report (PRR) (SEALED)
 5
         C        Physician’s Report (SEALED)
         D        Psychotherapist’s Report (SEALED)
 6       E        Personal Reference Letters
         F        Proposed Opinion and Order
 7

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     JUDGE ANDREA R. WOOD - 14
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                    Exhibit A
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                         Amended Judgment of Conviction
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     JUDGE ANDREA R. WOOD - 15
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                    Exhibit B
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                  Defendant’s Sworn Post-Release Report (PRR)
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10               (See SEALED exhibits filed contemporaneously herewith)
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     JUDGE ANDREA R. WOOD - 16
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                    Exhibit C
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                                  Physician’s Report
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10               (See SEALED exhibits filed contemporaneously herewith)
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     JUDGE ANDREA R. WOOD - 17
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                    Exhibit D
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                                 Psychotherapist’s Report
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     JUDGE ANDREA R. WOOD - 18
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                    Exhibit E
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                                 Personal Reference Letters
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     JUDGE ANDREA R. WOOD - 19
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                SWORN AFFIDAVIT OF DR. GREGGORY A. YOUSTRA


  I, Greggory A. Youstra do hereby solemnly swear and affinn as follows: I am a father,
  grandfather, 6S years ofage and a .rcsick.ot of Cook County for more than thirty eight
  years. I was a public school teacher for 3 8 years and hold a doctorate in education. I am
  a 8th degree black belt master instructor in TacKwon-Do and have 1aught self defense and
  violence avoi"3nce to tho\lSand.s of children.

  My family and I have known Howard E. Leventhal for more than thirty years. Howard
  was a student of mine at Niles Township North High School in Skokie, Illinois and one
  of my earliest students to achieve black belt rank. My first independent teaching
  assignment for Howard was to instruct the early childhood class in Monon Grove's Pmc
  District.

  Howard has always been a person who can be trusted to do what he says he'll do. I am
  very impressed by toe way he has continued to support his ex"wifc who is stijck.cn with
  multiple sclerosis. His compassion in this case is noteworthy.

 Howard and hi:J wife went to China to adopt a beautiful baby girl named Amelia
 Wenying Handeland-Leventhal. Howard has shown much love and financial support for
 this child. He is a capable and committed father.

 Howard is bard working and has always provided for those in his family. He helps
 suppoit his mother and father who are elderly.

 I have never heard or wiMessed Howard intoxicated on alcohol or drugs. He has not
 taken illegal drugs, associated with criminals, or had any disputes with associates,
 neighbors, or law enforcement personnel.

· In my opinion, Howard is an exemplary hwnan being in every aspect of is Jife.

 AFF[ANT FURnIER. SAYETII NOT.


     --,



 Subscribed and swom before me      is   J:/ii.. day of •[},tu u,J; .V   , 2005.
                   /! <:- -


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       -       Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 28 of 71 PageID #:494

       -                                         /ORN AFFIDAVIT OF LINDA SIN(

              I, Linda Singer, do hereby solemnly swear and affiI1Jt as follows: 1 am a mother, 47 years of age and a
              resident of Cook Cowrt:y for47 years. I have had principal roles in the rai�ingof2 children.

             My family and I have personalJy known Howard E. Leventhal for more than 20 years. During this period

     -
             I have witnessed Howard care for his ex-wife Judith, a tQtally disabled sufferer of chronic-progressive
             multiple sclerosis. aJong with others, in an utterly unselfish manner without regard to the burden upon
             himself. I am also owarc that ho is very close with a wheelchair bound disabled cousin and always available
             to help him.·
     -       Howard is very caring and will give 200% ofhimsclfto those who are spe<:ial to him Including hi.3 daughter,
             family snd friends. Howard is the type offricod who is always available to help no matter how busy he is

     ....    in his private and busill0$S life. Howard is an individual you can rely on •. It will only profit Amelia to spend
             u much time u possible with her Dad. He Possesses unconditional love for her and she is a huge part ofhis


     -
             life.

              Howard is a hard working. creative individuAl with an unparalleled work ethic. To my personal knowledge
              over more than two decades. he bas never been arrested., 1Bkcn an illegal drug. suffered from a substance
            , abuse afffietioi, or associated with· criminals or otherwise umavory characters.
  ....       AFFIANT FUR1HER. SAYETII NOT.


  ....
            Subscnoed and sworn before me this 21st day of 2005. [Notary Public]




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..                                                      C000328
            Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 29 of 71 PageID #:495




                                 Law Offices of Caroline Kaplan
                         5 south County Street I Waukegan, Illinois 60085
                      ph 847-899-3159 I Email: carolinekaplan@comcast.net

 November 8, 2013

Steven Yurowitz, Esq.
Newman & Greenberg
950 lbird Ave., 32nd Floor
New York. NY I 0022                                   RE: Howard Leventhal

Dear Mr. Yurowitz:

This letter is intended to provide a reference for your client Howard Leventhal, whom I have
known personally since 2005 and represented since 2007 in family law matters in my capacity as
an attorney licensed in Illinois.

Enclosed is a selection of other personal reference letters which were filed in Mr. Leventhal'_s
divorce case long ago, in the 2005-2007 timeframe. In my view the statements made in these
letters are an accurate portrayal. Also enclosed is a selection of news articles regarding real,
legitimate computer and electronics products created and developed by Howard. I personally
have seen operating demonstrations of the Voyager Mobile Internet TV created by Howard at
USTelematics, as well as the VIVEE talking email software and service conceived and
developed by Howard also at USTelematics.


My own personal observation of Howard is that he is lovingly devoted to his family, including
his 88 year old mother who Howard supports, his first ex-wife Judith who Howard has
financially supported for 25 years and his deceased father who Howard supported for 30 years
after a business failure. Most particularly Howard is a magnificent father to his now 13 year old
daughter who Howard adopted from a Chinese orphanage in 2002. I have requested a copy of the
adoption agency home study which addresses Howard's fitness as a father among other things
and will forward as it becomes available.

Howard is also extraordinarily supportive to his first cousin Neal Golden, a paralyzed
quadriplegic of 30 years duration. He frequently visits Neal at his home to repair and maintain
Neal's computers and electronics, has repaired Neal's wheelchair and adaptive equipment on
numerous occasions and provides continuous emotional support to Neal's parents, Fem and Jerry
Golden. Mr & Mrs Golden are elderly, lost their daughter at an early age to cancer and have
taken care of Neal at home for all of the time since his crippling motorcycle accident. Howard
calls them frequently, visits them with this daughter frequently and makes his aunt, who now can
never be a grandmother, feel like a cherished grandmother none the less.
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Howard is also a blackbelt in Taekwon-do and simultaneously a gentle and nurturing person. He
has taught self defense to hundreds of children in addition to women and men, almost entirely on
a volunteer basis. One of Howard's earliest students was Senior Master Earl Weiss who is now
an 8 th degree blackbelt and one of the highest ranking Taekwon-do masters in the world. To my
knowledge Howard has also begun to teach martial arts to his daughter for personal defense
purposes and character-_building. Just this year he spent parts of the summer with her at Judo
camp in South Carolina and Taekwon-do camp in Fox Lake, Illinois.

When my son Tommy, who was born prematurely and suffers from severe and permanent
disabilities and was permanently admitted to the Misericordia Home in Chicago. a group care
facility, Howard accompanied me, comforted me and emotionally supported me on what was
arguably the worst day of my life. Around the same time Howard attended a Misericordia fund
raiser and donated enough money to purchase an entire table of seating for my friends, family
and guests.

Howard's inventions and product developments have been in the hands of millions of people and
he is an important and productive contributor and teacher to the people and community around
him. Many people rely upon him both emotionally and financially.

Very truly yours,




Caroline Kaplan
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December 12, 2013



The Honorable, Sentencing Judge
United States District Court
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn. New York 11201

Dear Judge:

I am writing this letter in connection with the sentencing of Howard Leventhal. Of course, I am
aware of the fact that he will very soon be entering a plea of guilty. The purpose of my
correspondence is to tell you what I know about Howard, not only as a friend but as a practicing
attorney for over thirty-five years, which included a period of time on the Nineteenth Judicial Circuit
bencti as a judge in Lake County. Illinois. I've been a police officer, then the Chief Deputy Sheriff
of Lake County, and I've held prosecutorial positions throughout my career as well.

I first met Howard inadvertently due to my active participation at Prince of Peace Catholic Church
in Lake Villa where my family and I have been long time, active members. Howard enrolled his
lovely daughter, Amelia, at our parochial Catholic School at Prince of Peace. Our paths crossed
when I participated with Howard in many of the support activities for the parish and its school.
Howard always demonstrated kindness, charity, hard work anJ active participation in supporting the
parish school where his daughter attends.

At first we became acquaintances and then friends. I came to learn, after many pef'$()nal and private
discussions with Howard, about his tremendous charity and responsibility that he demonstrates on
behalf of his family. As you may come to know, Howard is greatly valued, loved and appreciated
in the community which I know him, that being Prince of Peace Catholic Church and School.

I know that Howard supports his deathly ill first wife extraordinarily beyond what anyone could
possibly imagine as well as he continues to support his second ex-wife. He is committed to a
personal, loving and kind relationship to his daughter, Amelia. and his quite elderly and financially
distressed mother as well. I have never heard him use profanity or express any negative comments
or recriminations about anyone.
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Sentencing Judge
December 12, 2013
Page 2 of 2



I am a seasoned, long time practicing criminal defense attorney and fonner judge. As a consequence
of my professional experience�. I believe l have developed a very accurate perception of the people
whom I come in contact with. I can represent to you, Your Honor, that my observations,
experiences. and interactions with Howard for over the last eight years confirms my belief in his
kindness, goodness, and charity with which he conducts his relationships with the people whom he
knows. interacts with and loves. I am confident 'that my recommen�tions to you of Howard's
character and goodness are accurate. If in your detennination as to the appropriate sentence for
Howard that he receive a rehabilitative sentence as opposed to a punitive one, I would certainly offer
my skill and professional standing in a supplemen�ry or sup�rvisory role of any probationary
disposition you might order.

I am a life long resident of Lake County, Illinois and I know Howard has lived here for many, many
years. I am familiar with and conversant with all of the County and State agencies of the Lake
County Court System and its personnel from top to bottoin. I would be more than willing, indeed
it would be an honor. if you felt you could rely on me in supervising any probationary sentence.

Howard Leventhal is a good man. ll is my considered opinion th11t a removal of Howard from the
interaction that he currently has with his two ex-wives, his daughter and his elderly mother would
literally cause a much greater hardship on these women to their detriment with Howard's absence.
I as.k you to extend y<>ur discretion and consider this plea for mercy and rehabilitutive community
based sentencing alternatives for Howard here in Lake Coumy, Illinois.

Vcry truly yours,


��-
 Wysocki
Albert L.
ALW:dd
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                                                                       Fem Dawn Golden
                                                                       1700 Paddock Lane
                                                                     Lake Forest, IL 60045
                                                                            847-525-6505

 November 5, 2013

!v1r. Steven Yurowitz
:syurowitz@ncwmangreenbcrg.com
Newman and Greenberg
9 50 Tiurd Ave
New York, NY 10022                      SUBJECT: Howard I..eventhal

Mr. Yurowitz:

I am a lifelong resident of the Chicago area and have known Howard Leventhal for 55
years. My husband and I operated a financial services business for 35 years serving tl,e
needs of lower income factory workers in the City of Chicago.

Howard is a relative but not a blood relative. In one sentence the way I would describe
Howard would be that he is among the most kind, kindly, kindhearted, big-hearted,
good-natured, good, benign , compassionate, caring, altruistic and humanitarian
individuals I have ever had the pleasure of knowing. He lives to help others and while he
surely enjoys life, the most joy I have seen him derive from life has been during those
times of greatest service to others.

When Howard was admitted to 1 st grade he had a reading comprehension equivalent of a
6th f,>rader. While in 1 l!f grade he could quote large portions of the World Book
Encyclopedia, which he had been reading since age 4. When Howard was about 9 years
old and his family invited us over for a summer barbeque, Howard relieved his father as
the cook and from that day forward until today he has taken great pleasure as a 9uitc
alpha male in being the chef and serving the meal at countless family dinners.

My brother Sheldon took an early interest in Howard and mentored him to develop their
lifelong mutual interest in flying and electronics. When Howard was 10 years old he sat
alongside full grown men at the federal building in Chicago, demonstrated fluency in
reading and sending morse code and advanced electronics theory and passed the
government administered test for his amateur radio license at the FCC.
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  Howard's bar rnitzvah speech at age 13, which he authored entirely himself and on his
 own initiative, was about the virtues of not following the crowd, not breaking the law,
 not taking drugs and serving others before himself. This has been the theme which has
 pervaded his life. not only in words but in deeds. I have never once heard Howard even
 joke about taking illegal drugs himself, and Howard tends to joke and reminisce about
 everything he does.

At age 15 Howard was elected to the board of directors of a non-profit public service
corporation, and he was elected by a group of arms-length adults who were not his
relatives. In working with this group Howard provided communications support for
Project LEAP, a poll-watching group and personally safeguarded an underprivileged
precinct during elections on the south side of Chicago. Also with this group he provided
health, safety and welfare communications during MS Walks and other charity events and
during fires and natural disasters around the Chicago area. On a volunteer basis at age 16
while in the Civil Defense Explorers, Howard re-stocked fallout shelters throughout the
northern suburbs with food, water and other supplies.

Howard began martial arts training at 15, attaining his black belt and significant
proficiency in Tae Kwon Do. He placed well in several college-level tournaments while
he was still in high school. At 5' 6" he is the only one of his instructor's thousands of
students ever to have bested his own 8 th degree master instructor Dr. Greg Youstra, a
man of 6' 4", in a consensual sparring match that ended with Dr Youstra's
hospitalization. At the same time I have never seen or heard of Howard applying his
formidable skills in any offensive way nor misapplying his skills in the slightest way.
Beginning at age t 9 Howard taught self-defense to children ages 5-10 at the Morton
Grove Illinois Park District for a number of seasons .

. Howardbegan college at Southern Illinois University in Carbondale, Illinois but did not
stay long because he could not bear to he away from his first girlfriend in Chicago. '1 "he
next year he enrolled at the University of Illinois at Chicago and was unable to continue
as his father began to fail in business.

In 1982 after Howard's father h:,\d some sort of breakdown arising from his business
failure, Howard saw that his mother and father needed financial support and started his
first company, Suncom, Inc. At Suncom Howard dissected the flimsy joystick controller
for the newly popular Atari game and developed a highly durable replacement. The
"SlikStik" and "StarFighter" were sold all over the world including at p.laces like Target
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and Toys R Us. Howard once related that while in Singapore on business he walked
down the street and passed a peddler's pushcart selling joysticks from Howard's
company.

For almost the entire 7 year duration of Suncom's existence before it was sold, Howard
gave from orie third to one half of his salary and bonuses to his mother. He also gave
some money to his Great Aunt Molly who had cared for him as a baby. \Xi'heo the
company was sold, the first thing Howard did was drive to the homes of his parents and
his Aunt Molly to hand them bundles of cash. Not because they were investors in his
company, and not because they were owed any money on any legal basis, but because
they were investors in Howard's life and he was delivering upon his own pers. onal code
of condm,""t which demanded that he do it

When Howard was in his early 20s my dear son Neal, Howard's first cousin, was
devastatingly injured in a motorcycle crash. Neal was near death and in a coma for an
extended period of time. Today Neal is nearly 100% paralyzed and my husband and 1
have cared for him at home for more than 30 years. I have attached digital video of a
recent TV news story about Neal which provides a glimpse into his condition.

Howard's first reaction after Neal's long term outlook became known was to try
fashioning some ad ap tive devices to ease Neal's challenges. Through the years Howard
has gladly set up and repaired some of Neal's computers and electronics, and whenever
called been at our door for this purpose at the soonest possible moment.

As shown on the TV news clip, Neal has made the most of his life by among other things
attending as many Chicago Bulls basketball games as possible. Not long ago when Neal
was re-admitted to the Rehabilitation Institute of Chicago, the upcoming game was
blacked-out on local 1V and Neal was quite unhappy. Upon lea.ming of this during a visit
to Neal, Howard went home and rerumed on the 60 mile rowid trip the next day with a
fully functioning setup to play the Bulls game for Neal via a temporary streaming video
feed over the Internet.

By far the greatest good thing Howard has achieved in his life was to travel to China for
16 days in 2002 and adopt his daughter Amelia Wen Ying Handeland-Leventhal.

Amelia had been abandoned in the womens' restroom of a train station near in a rural
area of Hunan Province in Central China. She lived in an orphanage from her recovery
by the police until Howard and his ex-wife Mary traveled there to retrieve her. Shortly
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 after Howard enabled Amelia to become an American citizen at the U.S. Embassy in
 Guangzhou, they came home to a welcoming party in my home. When it came rime to
 say the prayers and do the blessings, Howard gave a speech to the assembled group of
 people who normally will not stop talking or fidgeting for a moment to save their own
 lives. In a very short time this group of people sat in rapt motionless silence.

Howard explained the thinking behind Amelia's name, which comes from two distinctly
different sources. Firstly, Amelia is a westernization of the Aramaic "Al .Maliya", meaning
"Born by God" which could not be a better name for this adopted daughter who is so
dearly loved by Howard. Secondly Amelia was named after aviator Amelia Earhart. and
not only because of Howard's love for flying. Amelia Earhart was a symbol of the
accomplishments of women and Howard said this name was chosen "because Amelia is
an American now and in America ... a woman can be anything she decides to be".

My daughter Laura passed away at a very young age and I will never be a grandmother.
Howard has tried at every opportunity to bring Amelia into my life and keep Amelia in
my life so that I can have some of the experience of being a grandmother. I need this to
continue.

Further remarkable about Howard is the way in which he has provided financial and
emotional support for his first wife Judi, who is also a quadriplegic. To his own great
merit, detriment and sacrifice, Howard has supported Judi for 25 years and provided her
with whatever she has needed including a round-the-dock caregiver. This support
followed the earlier many years of support Howard provided his parents, overlapped it
and continues to this day, when Howard still cares for his 88 year old mother, my sister­
in-law Lila Leventhal.

Through my experiences with Neal I have met and know many people with disabled
relatives. For the most part, a&er a certain time, the only way they can survive has been to
institutionalize the individual. But Howard has so empathized with Judi that he has been
unable to take chis step and he has stood beside her and with her regardless of his
subsequent marriages. There are few people on earth who would even consider this let
alone actually do it for a quarter of a century.

Howard is an excellent father and is needed by his daughter who is now 13 years old.
Regardless of the outcome of these current matters, the person who stands to be hurt the
most is Amelia, and she has already recovered from a devastating abandonment, quite
well, directly because of Howard's efforts and for no other reason that I am aware of.
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When Amelia was still a young child and her mother (Howard's 2nd wife Mary) was too
 overwhelmed with motherhood, Howard would take Amelia wherever he went, even on
business trips. When Mary and her lawyer made things very difficult for Howard by using
Amelia as a hostage to be exchanged for material things - Howard signed over his
interest in the house he had paid for entirely with his own money, without hesitation, so
that he could have the time with Amelia that Amelia needs and deserves. Most people
would go to endless war over an issue such as this, but not Howard. When it came time
to relinquish a material thing gained at great cost, Howard gave it up willingly in exchange
for nothing more than the freedom to enjoy an ice cream with Amelia at will.

Howard recently volW1teered to coach Amelia's school robotics team. He has taken her
flying in the airplane he rents at the inexpensive, non-profit flying club he has belonged
to for many years. Last summer Howard ignited an interest in martial arts for Amelia by
taking her to a Judo camp in the Carolinas and a Tae Kwon Do camp in Tllinois. He
coaches her privately and she already can break boards and deflect attacks even while
being slight and weighing 70 pounds. Because Amelia is slight, she takes growth hormone
injections which Howard administers to her whenever she is in his care.

In all the time I have known Howard, although he has been in plenty of mischief, it has
been innocent mischief and he has never hurt anyone. At 5 years old, while I was
watching him in my home, he disappeared and walked to his home, several miles away.
He found a way into the locked house and when I arrived there after great upset to look
for him, he was eating potato chips, watching �IV and dreading the coming moment that
I would find him.

 Howard has never committed a crime or been accused of a crime as far as I am aware.
When at our house he will not even take a can of soda without first asking permission.
Howard knows that my husband and I are not as young as we used co be, and much of
the time he visits with Amelia he brings food for everybody with special consideration for
food that Neal can tolerate. When my daughter was near the end of her life, Howard also
brought food, knowing that she could not eat it and hoping she could get some
enjoyment &om just smelling it or touching it to her lips. When Howard recently moved
into a new home, the first thing he told me about it was that his criteria for enabling
access for my son's whedchair was satisfied, and that he had gone out immediately
searching for wheelchair ramps suitable for Neal to pass over his threshold.
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Howard is a productive member of society and he has much to offer. The video game
and computer products he developed have served the needs and entertainment of many
hundreds of thousands of people, all over the world. He once developed a computer
graphics tablet called Animation Station and donated several to the Museum of Science
and Industry in Chicago. For a number of years the public infoanation graphic monitors
on display all over the museum used the computer tablets that Howard created first with
pencil on blank paper alone in his own lab.

 I-Ioward is an accomplished and noteworthy problem solver. When he thinks about
solving problems, normally it is in the interest of the public good. For example he
developed a product and service called VIVEE to reduce distracted driving by using a
computer generated character to read aloud the email and text messages of drivers while
driving. He wrote a book called "Are We There Yet, Road Trips in the 21 st Century",
which is still available on .Amazon and proudly on display in my bookcase. The object of
this book was to help parents everywhere solve the problem of keeping kids under
control, entertained and intellectually stimulated while on long road trips. He developed a
product called ICONtroller to solve the problem inherent in early laptop computers of
needing to carry around an accessory mouse. As a pattern and practice in his life, he uses
his intellect, which is formidable, to help not just those he loves or are close to him, but
to hdp society at large.

Howard is not a consumer of luxuries or material items for himself generally speaking.
He wears jeans and old clothes and drives a leased Chevrolet Up until recently he drove
a 10 year old car with 150,000 miles on it. It is obvioµs from the effusive support he has
provided for his parents, ex-wife and daughter that this is where his lifetime income has
gone. I understand that Howard is accused of fraud and is likely to plead guilty.
Regardless there can be no productive purpose for depriving him of liberty under any
guise or expressed cause, my feelings and emotions acknowledged and set aside.

Yours truly,


   /I()
�f,-1/!c,,{/--.._ /·��
Fem Dawn Golden
Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 39 of 71 PageID #:505




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  Nl7 W5l9' Garfield Circle
  CedlrtMq.WJ53011


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  WC---PlaaEal
  Ocvoldya. New York 11201



  Dcccmber 5, 2013



 To Whom II May Conccm.

  My na11e i.t Lomiiao O. Mar.t Md I RSidc in the Slalc of\Vlsconsin. I mn n:t!n:d from K,aR

  Fooda. This reference lcUcr ii un bclllalf of HoWlll'd Lcvcll1bll who. I undl:ntaad, plus to plead

 pilty 10 fraud in your Court.


 I haV\: known Howard f.cvcmh:tl for the laa n,aicy-cipl years. I llrst IUCI Howwd In 198' wheo

 he wu the Ptaident ofSunC0tn. Inc.. la Chicago. Illinois 111d my � ,¥Ol'k1.'CI lor his

 company. My daqh1er, Mmy Handeland and Howard \\'l:nl mani1.'CI in October. 1999.


 In 2002. Howard and Macy adopted my 11ntnddauahecr Amelia who. as a baby. \Y1IS abandolllld in

 11 remote an:a of the P1.�lc's Republic of <.bina. Howard's cxtn:nl\.-ly proud of his dalghtcr and

 always recognizes the iffll)Of1llllCC ofspcndin1 tbno with bet or enm,. her Ofl the phone.


 Althouab we may haw had dlffcn:accs of opinion in the pal,. ultill\llldy I have known Howlll'd
Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 40 of 71 PageID #:506




producta. He is a Clllcntccl man \\ith mmy �ivc Dluibules that. if alvcn the opportunity, could
benefit the community.

I lnlly bclk:\"C lhat How.rel ha aliady sulrcrcd cxlc:nsivdy ror hi, actions. He 11113 lo31
crccboilhy wi&b hia busincn IIISOcillCI 111d 1111 cxpra,ed sadness by what be ha pul his family

throllgh. A pri30ft sentence would cw incpantble hlllm to his youns daughter. 'l"hcn:l'oR,. I ask
the court to late lnco comldc:ndon the impoc1lalCC ottJUI c:ritlc:lal n:ladonsblp when considering

his scntcaa: as hil abscocc in hor lifo would be akin to )'Ct ablndolllncnt for her.




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              Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 41 of 71 PageID #:507



                                             September 26, 2000

                                  RomeSmdy for lata:n•daul Adaption
                          Eamib'; II     a•       ward E. & Handeland. �my Ann
                                   2885 Farmington Drive
                                  Lindeabunt. IL 60046
JITING                            Home Telephone:
                                  Husband Work:
                                                          (847) 245-3066
                                                                  (84 7) 948-8200
M ILi ES                          Wife Work:              (847) 356-0781
                                  I-oOO Petition riling Date: March 7, 2000
INDATION                          I-600 Fingerprint Clearance Dase: June 26, 2000


                 Intmicw Dates ud Support ln(onnado,n;
:DfTEO
                This International Home Study was conducted by Uniting Families Foundation
                caseworker, Lynn L. Weuerberg. Interview dates of 2/4/00, 4/9/00, 4/14/00, and
�                5/21/00 include home and office contacts. As part of the overall Home Study,
                character references, medical reports, financial statements and income tax returns
                are reviewed and the family's home is inspected. This couple stated that they
                have never been rejected as prospective adoptive parents nor have they been the
                subject of an unfavorable Home Study. They stated that they have no history of
                substance abuse, sexual abuse. child abuse or domestic violence even if it did not
                result in an arrest They also stated that they have never been arrested, indicted or
                convicted of any crime.

                Adaption E1pcctations;
                 Howard and Mary Ann. a childless couple. would like to adopt a Chinese infant
                of either sex, as young as possible, and Wider 15 months old. Although they
                would like a child who is as healthy as possible. they are wiJlins to accept a child
                with a correctable condition. They would not accept a child with a diagnosis of
                Fetal Alcohol Syndrome. Both Howard and Mary Ann have been diagnosed and
                treated extensively for infertility conditions. This is a second marriage for
                Howard and a third for Mmy Ann. Both say that their prior marri ages suffered
                from the stress of infertility and they have chosen to create their family through
                adoption with relief and conviction. They are auracted to international adoption
                because they like the idea of providing a home for a child who would otherwise
                not have one. They appreciate the relative predictability of international
                adoption. Howard and Mary Ann believe a Chinese child will fit into their family
                system and their community with no difficulty. They stated that they have the
                enthusiastic support of friends and family.

                 Through extensive training the Leventhals have been made aware of the issues
                 involved with adopting children from an institutional setting. Training included a
                 discussion of the processing. expenses, difficulties and delays associated with
                 international adoptions. They are also aware that the child they adopt might
                 develop a previously undiagnosed medical or psychological condition following
                 placement The say that they accept this possibility and are willing to take this
                 risk. Howard and Mary Ann state that they will assume full responsibility for the
I Ave.
                 medical and financial needs of their adopted child upon placement and that they
               · will fully cooperate with the Agency in its provision of post-placem
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I 356-1452
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                 Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 42 of 71 PageID #:508




 PTMPPmWfee·
 I find Howard and Mary Ann Leventhal to be a mature. respouible and loving couple who have
 the emotional and financial ability to provide a nurturing home for a child. I highly recommend
 that the Leventhal's be allowed to adopt one healthy Chinese infant of either sex under fifteen
 months and as young as possite from China.
Uniting Families Foundation is licensed as a Cluld Welfare Agency by the State of Illinois and is
authorized to place children for adoption under License 1304862-02 which is in effect until April
17, 2001




                                                                                                                      I
                        Caseworker
              Licensing Personnel ID ISJ6969




               Judith Tanter, LCSW, MS                                                                       Date
         ·       Casework Supervisor
             Licensing Personnel ID #506721



Signed and sworn before me this                                ci lo�            day of �                                 • 2000.



                                                                                                    OFFICIAL SEAL
                                                                                               SHARON G. THOMPSON
                                                                                              Notary P\lbllc, State Of llllnols
                                                                                             My Comrnllllon Expl!N 04/0'IOJ




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     Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 43 of 71 PageID #:509




 it I.;i              EMSI
                      THE NY{OfiPERFOf,MANCE PUSLIC RELATIONS FIRM




         i
N            ber 25, 2013


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Sentehcing Judge
United States District Court
Eastefn District of New York
United States Courthouse
225 Cadman Plaza East
BrooNlyn, New York I l20l
     :


Dear Sir/Madam:

I am ivriting in connection with the sentencing of Howard Leventhal. who I understand is entering a
guiltg plea with regard to his case. I have known Howard for at least 15 years, and from my working
relatignship with him, I have knowledge ofhis character and responsibility.                                            I
                                                                                                                       I


I am fhe CEO of EMSI Public Relations, a national PR firm, which I founded more than 23 years ago.                 I

I havi managed publicity campaigns for Howard for the promotion of3 ofhis products.
                                                                                                                   i
In alllmy dealings with Howard, I found him to be an honorable businessman. who kept his *nrd in
eve{y agreement he made with me and my company, including meeting his financial obligations, i.c
he pafd us fully and when expected. And just as important is the fact that the products he protnoted               I

were ieal and of ralue to consumers.                                                                               I




Wept media for Howard to promote these tlree products:                                                             I


                                                                                                                   I
             1998: We arranged   TV interviews for Howard who was promoting Quicksite CD ROM                   I
    ^.       Soltware (cutting-edge software that made it easy and economic for small business to developr a   i
             website, when previously such was cost prohibitive).
                                                                                                               i
    B.       2005: We arranged talk radio interviews around the country for Howard who was promoting           I
                                                                                                               i
             his book, ,4re IIle There fet? Road Trips in the 2l st Century,.                                  I
                                                                                                               I
                                                                                                               I

    C.       2007: We an-anged TV, radio and print coverage when he was promoting VIVEE, a voice               I


             interactive email for use in cars (at that time considered cutting-edge technology which          I
             promoted safety through hands-free use of digial devices whilc driving).                          I
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                       3748 Turman Loop, Suita 101 . Wesley Chapel, FL 33544 . TBl. (727) 443-7115             I
                                 info@emsincorpomlod.cofi r . w\.rw.om sincorPora€d.com
                                                                                                               i
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I hopd this information is helpful in putting into context the type ofperson that Horvard has been
throulhout the time I have known him - an honorable businersman who has promoted real products
that h;ve been beneficial to consumers.

S




        Friedman
CEO

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November 20, 2013

To Whom     lt May Concern,

 I am writing this letter on behalf of my friend of almost two decades, Howard Leventhal. I understand
he will shortly be entering a guilty plea in court proceedin8s a8ainst him. I met Howard in 1995. I was
workin8 with a graphics arts company, who, at that time was one of the early pioneers of digital
printing. Howard was working on some packaging projects and found digital printing to be helpful. Our
shared sense of humor made us quick acquaintances and it wasn't long before we became friends. We
had many lunches and eventually dinners including our wives. lt wasn't long before I realized his
kindness and generosity. We were invited to his cousin's house. His cousin is wheelchair bound and
severely disabled from and accident years ago. There were several family members there, but it always
seemed like it was Howard constantly looking after his cousin. I also had the pleasure of meeting
Howard's parents. His father, too, had a great sense of humor, and over the years we have shared
several laughs . Howard was very close to his dad and was there constantly until his dad passed. He has
since been there in every way to make his mother's last years as comfortable as possible.

 I later found out Howard is taking care of his first wife both compassionately and financially. she is
suffering from a debilitating disease that requires both time and money. Just Howard doing what comes
naturally . I also feel blessed to have been the very first person to greet Howard at the airport when he
brought his beautiful new daughter Amelia home from China, He has been a loving, BivinS father ever
since. Ho beams around her. I will regularly get texts on my phone with pictures / videos of things
Amelia is involved with. Dancin& martial arts, and sometimes dad just bragging about how big and
beautiful she has grown. Recently, Howard called and asked if could stop by our home with Amelia.
We were very glad to see both of them. The reason for his visit? He wanted me, as a guitar player, to
show Amelia how a professional could make her new guitar sound. Here's the unusual part. Howard
BU ILT the guitar by hand. I asked "why build one"? Hesaid"l thought itwould bea little more special

this way' "perhaps she will be a bit more motivated to spend the time to learn, knowing I didn't just run
out to the store and buy one".

I know several people who participate in the Big Brother pro8ram. They cannot stress enough, the
importance of a male influence in a child's life. We have all seen the implications of children growing up
without dads. lt would be doubly sad if Amelia were rescued from China, only to spend her time here, in
her new country, fatherless.

It is difficult to share all of the great things I have witnessed Howard doing. I hope this sheds a bit of light
on the kind of person I proudly call my friend.

Sincerely

Michael A Gianokopolous

President/co-owner M & M Fasteners        lnc.   Crystal Lake   lllinois 60014 est.    1999

Home address:35672 N. Sheridan Dr. Fox Lake        11.60020        1999   to present
      ....   Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 46 of 71 PageID #:512




      ....     Novcmbci 30, ZOOS



              To Whom It M2y Conccm:

     ....     My n� is Dan Bleil. I am �dy �t of a t%Cdit uni011 st:n'ice otganiutioo providing
              financial ICt'l'ice, to businesses and ptolca5ioaals thtoughout the CO\IDt!)', :a proud fa.thei of rw o
              adult womco., Ind a dc:u &iend of Hovrud I,a,cnthal. I �ve known Howud LcvcPdul both
              professioo.Uy and pc:DQmlly for rnoie dim 15 yeu&, I luvc knO'Wll Howud 10 be a� and
     ....     xe,.pcnaiblc man. He has demomtrated great patience 14d cate with both h4 elderly pucnt:1 :and his
              C-'-wifc Judith." Jisabled 5uff'ezu of m�tiple ,c:lcrosis. I also witneued H�'s 11.Ctiom, attirudes
              and commitment throughout the anfuom and butdcnsome proccs, of adopting hi, da.ugbtcr,


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              Amelia W�yiag Hmdeknd-LeTenthal. Dw:ing this pr0Ce3a. I observed Howud'_, '9ving tnd
              cu:inJ attempt to m1n2gc die pmccu with the uano,l CAM and attention to both his wik and their
              pro5PCerivc adoptei;l cbild The inociss � ui c:x�a011al amount of time md xesoutecs in a
              foreign countty in order to confomi (0 tbc R�entl of the child'• countty of ocigin. l wts
              imptQ.S� with the ,ny .ia. whicll Ho� bandl� this ptQCCSS with ate 1112d attcution t0 me
              special and IC.Wtm: coa.dilio.ie or .Amdi..'1 origins.

              Since the su�sfol adoption of .Amelia, msny of om lhued con?Cnado.:u .:evolve around his love
                                                         me
              ;u� afliic:tian for his daughter. I have had opponunity ro spend many shared tnomCAU with
              Howard and Am� u they _play and inu:tKt wirh 0i1e MOthc:r.. It ii obviOU& to lllyonc �t .lmov.rs
              ROWtEd even Cll$Ually, that his waiionsbip-with ma daugh� ls the most important thing iii his life.
              f�anorc, arid moz:e ctiti� Amelia's a.cc:d £'or her father's love, cue, and nurtwii1g is

 ....         indisputable..

             I am compelled to usi$t Howa.td in his e.ffo.m ro be tlffi:ialed as DJuch tii:n.e as po151blc: with hia
             daughter as a �suh oC my owu expcacng; with the judicw ,,.,-.. in Illinoia -.cl irs ,dvmsc impaer
             on f:tcher's 1111d their cbildrcn. Too ofcexi chc child's needs arc dc;kaed ro the motho: wirh little
             :r� or ancoriot\ to the relationship the chi1d had, and =eds lo dl2intain, with their father. I
             W0\1ld claboatc, bi.i.t am can.6ckat duat d1e flcdioa. of writtai mateatl 1uppo:rtiog thls_ aio,c
             iaruitivcly obmw aituation requira littll: mote mppoiting c:videi1ce tll:Ul the look in rhe eyes of
             the &tbcts child.

             Howud is a bud womng. creative individual with an unpttillcled wod< ethic. L,. my opiruon u
             father of r:wo bca\lliful aduh wosncn, Amelia will � best served by a CU$tody ammgement wbc.a:by
             Howud is affo.tdc:d the grcarat conc;d.nble amounr of ume exclusively-with Howuxi. Please £'eel
             fo:e to contact roe ifl can ptov:ide ;\fly further support in my effotts co p1ovidc whiu:cvcr i,
             nc:ccasaxy tn assin Howa:rd :1.nd Amelia in maintlliniog the .rebtionship they both aecxi



             Most simerely.,...     n
             -�-cS>.1�
             Daniel S. Blc:il




..
                                                  C000324
Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 47 of 71 PageID #:513




                                  Stuart t{. Volkou
                           Box 5755 Santa l,lonlca cA 90409
                          SKYPE: svolkos svolkow€gmail. com
                            www.   linkedin   .   com/   in/evolkow
t{ovember     11,    13

Steven Yuroritz
Net{[an and creenb€rg
950   lhird   Ave
                           XN SUPPORI OI HOWARD I,EVENTHAI.,
                                 New lork, NY 10022
                    via euail:     syurouitzenewmangreenb€rg.qqm
!lr. Iurowitz:
I an a callfornia resLd€nt and have known Eorrard Lcventhal for
over 45 yeara a:lnce approximrtely the 5tL grade. Thia letter La
in support of hi6 defense and IIbrty.
l{a. Yurorritz   :

I a[ a lifelong friend of Boward Leventhal , residJ.ng most of ny
life. fulI or part time in the Chicago area.
Eqard la a loyal frLend and frnily Dan rho hag norked
diU,g€ntly and had uany buaines! Eucccaa.B. I have been at all
three of, his reddinge and have aeen fLrst hand his unwavering
suppoat of,    his
                agLng parenta, daughter Anelia, and disabled
first uif,e arudy. All of thig aupport has been with great
perEonal eacrif,ice. This ls eslrecially true of hLa continued
quart€r century support of hlc couplat.ly disabled first wife
Judy, keeping her froD inatitutioDallzatl.oa. .I witnesa€d first
hand the depth of hig comitoent to frDily aB he cared for his
father in his final yeara. r have witnessed nuneroua times hou
he helps support his quadriplegic cousin Neal. For certain,
Eoward ls, atrd haa been pivotal lD the support of Dumroua
people Ln hls f'E{ly cl.rcle both fLnancially, logistically and
enotionally.
Eolr|rd haa a unlgue conbinatr,oD of talent and ability conbinlng
technical skill in electronics and deslgn with nark ting 3av\r17.
I hav. seen firat hand hia abtlity to articulate and design
conplex products and bring theo to narket. I have uorked with
Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 48 of 71 PageID #:514




hlm rnanytinos aa a consultant on sevaral of his businegsee
including Quicksite, Stealth lledia Laba, U.S. telematica, and
E€ltheo. As an sxpert In uoblle lDt.rn€t t€chnology I can
atteat that to the feasibil.ity of the ottur8e Coupanion nobile
hooe health rcnitoring product, brand namad The Mccoy. It
integrates r€adily available off-the-shel! technologler.
As boya of 1{ or 15 we tralned together Ln an Explorar Poat ln
SkokLc r1. wher€ we learned firat aid and ran emergency
comunicationB operations. Borrard always perfomed            at   an
excellent levcl.
ArouDd that sarD€ tine aooard began trainl,ng Ln Tae Kwon Do about
a year after nlrself. I trained and coqretd with tlr. Leventhal
through ny colleg€ years when we both attcndcd Southern fL.
Unl.v. E€ alw.ys conducted hlnself honorably and has always
displayed sxcellent self-diacLpline as a practl.tioner.
Howard is an excellent father and ia needed by his adopted
daughter Anelia, who Is nor 13 yeala old. Reg.rdlea8 of th€
outcor of these current mattera, the p€rson who atands to bc
hurt the mat is of course Amelia, as rell aB his ex uifa Judy
aad aEinE Dothe! Lyla.
Sincerely,
Stuart W. Volkow
Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 49 of 71 PageID #:515

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     Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 50 of 71 PageID #:516




                                      Earl Weiss
                               I 0024 Skokie Blvd. #240
                                   Skokie, IL 60077
                                    847 679 5580
 May 7, 2015
Honorable Judge
Brian M. Cogan
United States District Court
Eastern Div. ofNew York
225 Cadman Plaza East
Brooklyn, NY 11201                                  RE: U.S. v. Leventhal
Your Honor:
This letter is in support of Mr: Howard Leventhal, Defendant in the above captioned
matter, whom I have known personally since 1973. I am an attorney licensed in the
State of Illinois, admitted to the Illinois bar in 1980 and a graduate of De Paul
University School of Law. I humbly submit the following:
I am an 8th degree black belt in Taekwon-Do, one of a handful in the USA to
achieve this rank. My instructors along the way have included the Founder of
Taekwon-Do, the late South Korean Army General, Choi Hong Hi. Howard was
my senior early on, a black belt before me, an assistant instructor for our Sabumnin
(instructor) and among my earliest teachers. In the course of my martial arts career,
I have taught many of students directly and indirectly through classes and seminars,
some of whom also became instructors.
Howard's dedication and work ethic, at least in some small way, is embedded in the
students that followed his example.
Martial art instruction is transmitted partly through inspiration. A good teacher
mixes instruction and repetition with demonstrations that appear almost
superhuman to students, inspiring them to eventually perform the same feats. I was
inspired in this way by, Howard, who was the only one to kick a suspended heavy
bag once and make it hit the ceiling three times in response.
Howard was of a teacher, who led by example with focus and energy. He provided
students with a window into their potential.
       Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 51 of 71 PageID #:517




He was a fierce, fighter who competed in the open heavyweight division at
tournaments. Our instructor Dr. Greggory Youstra, VI Dan, assigned him to teach
the youngest K-3 rd grade students at our Morton Grove Parle District classes. It is
not easy for an intense martial artist to dial it back and present lessons gently for the
mentality and physicality of children. Dr. Youstra could see that Howard is
adaptable and suited for the challenge.
While many years have passed since then, I am certain that regardless of whatever
misfortune has brought Howard before the Court, qualities which lit a fire under me
as a young person can and should still be harnessed. I strongly encourage the Court
to give serious consideration to sentencing in this matter which is focused upon
community service, productivity and enriching the lives of people


                                                                                            I
The United States does not need yet another prison inmate. The corrections system
as it presently exists in the United States does little to rehabilitate the incarcerated
or benefit society. No higher or better agenda could be served than by allowing
Howard to pay his debt to society in a very real and tangible way by being just such
a soldier in this war.




Yours truly,




Earl Weiss
                 ,·   '         Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 52 of 71 PageID #:518


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                  Case 1:1: -cr-00695��c Document 157 Filed 09/22/16
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                                                                                                Page 2 of 5 PagelD #: 1548




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     Oear    HonoGbh 9r ot Madame,

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    one on th€ NNDAq and ona oll thc Ame]kan Sbst EEha,Ea. Comblncd, I !€rrrad rs tha CEO and Chalrmsn ot th! Board ot Oire(tors for a total
    of apprortmataly 20 !€aB. I have alsa ieryed ar CEO and Pnsideht of e Cao,adlr n 8olernmenL provlncLl venlure capltrl fund. Currenily, I .rn CEO
    ot. technololy compeny based ln Odorq EnSLo* I hold r PhO. fiom New Yorli UnlVe''lty snd tn M.83, f..om Orrord Unte6lty. additionally,l
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    Soclety, I rm a llst€d lnventor on 19 lslued prteots and an author/co{uthor ot lour iubllrhed booh.

    Itnlnk Howard tt t good and dc(ent rian who worts €St aordlnarity had in thr etli€IBinB technolo8y Jpace, Soon after I was flrst lntroduced to
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    back to tha U,S, Throrrgh nry htera€tions with Howard owr the yeac, Howard Dlwiryi s€em.d tb ta . csrhg and attentFe fath€r.

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    lnvEtment! that havan't worlrd havg ever €ndeivorad lo repay our lnhhl invrstmsnt Howard's actbn really stood out in.ny mlnd as an
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    lrretpocllve of any mlstales Howard has made, I belleve hlm to be a good man rnd a Bood lather, I ffrmly bello/e that i person's past and future
    sholld flot b€ datcrlbed by a tery actboa, but tlre rsse$ment of an lndhtdurl 5hould ldeally r€tlect the totallty ot choice5 made and actions taken.

    I plead   bcrotothc cbun thtuyoo rhar* co.np.tllon to Hbvlrrd lrvc,lthrl. l un&.st nd tiat hr hr! dortelvronlths.e ba price to pald, but Iako
    remrln enthu*asdc     ad hopeful ,rto tha addluonal Sood Howard ean and rvlll do h hE reltlrlnlnt yaar$ should he have the opportunity to dd !o.
    Sincereh,




    Clffurd M. Gros3, Ph,O.
      Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 57 of 71 PageID #:523



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                                        RUDOLPH.P. RUSSO                 BnANCH OFFICE
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    December2,2013




    Senbnciqg JUQE
    US Distict Court
    Eastem Diatict of tlew York
    225 Cadman Plaza East
    Brookly,n, NY 11207

                Re:   People v. Hot   ,ad Levenlhal
    Your Honon

    I am GraduatedThe Columbia Law School and haw practiced law in the State of New
    York since 1957. Slnce that time, in addltion to my law practlco, l have served as,
    among others, a Town Jlstica, a memb€r of the Dutchess County Legislature,
    Chairman of the Dutchess County Legishnrc, a member of the Board of Trustees of
    The Dutchese Community College, attomey for the Dutchess County Legislature and
    attorney for th€ llncrress Communlty College.

    I have pcrcona[y known Ole deferdant l-brrad Lcventhal, slnce approximately 1997. I
    met Mr. Lewrilhal thrurgh my broffierin-law who, at the tme, was in the investrnent
    banklng business. Since 1997, l'have personally invested in a number of Mr.
    lewnthal's enbrydsee. Althoqgh all of these endeavors uere not commercblly
    success;lttl, in almost every instance Howard dil, in fac{, develop ard/or bring to market
    the inbMed prduct

    Among these prcducts was'QuidrSib', a CD-ROM sofllvare which enabled srnall
    businegses to creab their own e-cootnEr@ rvebsites. This ptoduc{ was dislrbuted
    nationally and in July ot 1999, PC Computing Magezlne gave it a 4-star rating with the
    conment that'QuidtSlte Gold b th€ ftiendliest of the bunch...'and '...the easiest way
    to set-up shop'. To my knowledge, this produc't was totally and solely developed by
    Howard.
  Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 58 of 71 PageID #:524

Sentencing Judge
US Disbict Court
December 2, 2013



ln2Wi2, Houlad, together with 2 resoarcherc at lhe University of Miami dweloped THE
STEALTH CHANNEL DIGITAL WATERMARK, which was subsequen0y arvarded U.S.
Patent fr,079.63:1. Although thb product ditl not reach snnrercial success, it was a
ground-breaking dwebpmeot in tha preventirn of piracy of dbila! goods sucfi ag music,
movies and W programmirg.

ln 2005, Hortrard, alorlg with trivo olhere, co-authord a book entitled, 'Ara We There
Yet? Road Tripe in th€ 21!t Centrry. This booh wtrich b still available today, educates
parents about ushg ebcfonic methods of entertainang children on long car tdps.

ln 2il)7. Howard inboduced the Vh'e€ voica inErac{iw measagirg for refbvittg ernail in
aubnobilee. The prpose of this produc{ was to allorr drirrers to retieve ernail without
disiracton.

ln 2008, Houad, togeher wilh consulting engineers, developed the Voyager Mobile
Television, whk$ alloved the reception of live TV in moving aulomobiles. Voyager vlras
dernonstrated at the January 2008 Consumer Elecbonlcs shor in Las Vegas.

I have been advl8ed that Hourard at€nded the Southem lllinob University and the
Unirrersity of lllinois. but di, not graduate. Obviously, he is a self-taught engineer and
an accomplbhed hrwntor, despite his lack of formal education. A number of yeers ago,
Houad's father toE me that when Horad was 12 years old, ths local pollco agency
sought his asslstanco in establishing their radio communication system.

.Thrcughout ttte years that I hava krpwn Homad, I have never known hlm to be
 an!fthS but hon€!il and straighffonvard and as iar as I can asoertah, he has absohrtely
 no prbrcrimlnal hery.

ln the instant case, Hoyard, apparcntly under intense pressure to finance his lat6t
undertaking, exercbed erfiemely poor jdgment for whbh he must atone. Hourever, it
vuould app€ar to me lhat no useful purpose whatsoever would be served by sentencing
Howard Leronthal to any tem of imprisonment.

Very truly yours,




RUDOLPH P. RUSSO
RPR:sb



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       Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 59 of 71 PageID #:525




                    Exhibit F
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 8
                            Proposed Opinion and Order
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     JUDGE ANDREA R. WOOD - 20
           Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 60 of 71 PageID #:526



 1
                           UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
 3
     UNITED STATES,
 4
                    Plaintiff,
 5
     vs.                                                Case No.: 13-cr-844
 6
     HOWARD LEVENTHAL,
 7
                                                        OPINION AND ORDER
 8
                    Defendant

 9   December 4, 2020
     ANDREA R. WOOD, District Judge
10

11
                                       OPINION AND ORDER
12

13
                This matter is before the Court on defendant Howard Leventhal’s Second Motion for
14
     Early Termination of Supervised Release filed November 4, 2020. For the following reasons,
15

16   the Court GRANTS the motion.

17
                                             BACKGROUND
18

19              In December 2013 the defendant pled guilty to one count of wire fraud and one count

20   of aggravated identity theft in the interceding matter, Case No. 13-cr-695(BMC) in the United
21
     States District Court, Eastern District of New York (the “EDNY Case”) 1. On September 12,
22
     2015, fourteen months prior to sentencing, defendant was remanded to custody of the Bureau of
23
     Prisons for alleged violations of conditions of pre-trial release terms, denied by the defendant.
24

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26
     1
27    Note that while this matter was originally filed in this court under this case number, it was almost
     immediately transferred to the United States District Court for the Eastern District of New York,
28   (EDNY) where the bulk of proceedings took place.
     OPINION AND ORDER - 1
         Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 61 of 71 PageID #:527



 1              On December 6, 2016, defendant was sentenced in the EDNY Case to 60 months
 2
     imprisonment to be followed by three years of supervised release 2, with credit for time served in
 3
     pre-sentence detention. Defendant was ultimately transferred to two succeeding minimum
 4
     security federal prison camps after spending 17 months in the maximum security Metropolitan
 5

 6   Detention Center, Brooklyn, NY; a facility referred-to in published reports by EDNY Federal

 7   Magistrate Judge Cheryl Pollak as being like a “Third World Prison 3.”
 8
                Subsequently Leventhal was transferred from Federal Prison Camp Duluth to a
 9
     Residential Re-Entry Center in Chicago on April 12, 2019 and transferred to home confinement
10
     on May 16, 2019. Defendant’s period of imprisonment (per official record of the Bureau of
11

12   Prisons) ended on December 12, 2019, the day his period of supervision by Probation should

13   have begun under controlling law. Defendant claims that inception of supervision under
14
     authority of United States Probation actually began six months earlier, during late May or early
15
     June 2019. The Government disagrees.
16
                Mr. Leventhal no longer wants to be on supervision and has filed two motions
17

18   requesting termination of his supervised release; the first filed in May 2020 in this matter 4 and

19   the second instant motion filed on November 4, 2020, to which the court now responds and rules.
20
                During the proceeding in this matter which took place on July 30, 2020, Mr.
21
     Leventhal’s currently-assigned NDIL Probation Officer Jay Nichols, while objecting to the
22
     earlier petition for termination, stated on the record that he did not foresee any objection to
23

24

25
     2
26     The sentencing court initially ordered 5 years of supervised release, however after being advised that the
     law did not allow a term exceeding three years, amended the judgment downward to three years of
27   supervised release. See amended Judgment of Conviction, EDNY Doc 177.
     3
       See https://patch.com/new-york/sunset-park/federal-judge-appalled-third-world-brooklyn-prison
28   4
       Denied without prejudice for being prematurely filed.
     OPINION AND ORDER - 2
        Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 62 of 71 PageID #:528



 1   granting a later petition, provided that the effective date would be no earlier than December 12,
 2
     2020. The Government agreed.
 3
                The Government stated two objections to Leventhal’s earlier petition: 1) That the
 4
     statutory minimum for early termination under 18 U.S.C. § 3583(e)(1) of one year under
 5

 6   supervised release had not yet been met; and 2) that there was some (vaguely articulated) joint

 7   concern on behalf of both the Government and Probation that Leventhal had not complied with
 8
     the sentencing court’s order for behavioral health care during supervised release. Over the four
 9
     months since the Government and Probation stated these two objections on the record, no new
10
     objections, notices, complaints or filings on their parts expressing objection to terminating
11

12   supervised release early have been asserted.

13              On December 12, 2020, according to the reckonings of this court, the Government and
14
     Probation, the statutory minimum of one year under 18 U.S.C. § 3583(e)(1) will be met in this
15
     case, allowing for grant of early termination on said date.
16

17

18                                               DISCUSSION

19              Leventhal's motion to terminate supervised release is based on § 3583(e)(1), which
20
     allows the Court under certain circumstances (which the Court discusses and presents here) to
21
     terminate a term of supervised release "at any time after the expiration of one year of supervised
22
     release." 18 U.S.C. § 3583(e)(1). Section 3583 generally governs inclusion of supervised release
23

24   after imprisonment and provides for specific terms of supervised release for various categories of

25   crimes, the factors to be considered by the court, conditions of supervised release, as well as
26
     early termination, modification and revocation. In particular, "[t]he court may, after considering
27
     the factors set forth in section 3553(a)(1), (a)(2)(B), (a)(2)(c), (a)(2)(D), (a)(4), (a)(5), (a)(6), and
28
     OPINION AND ORDER - 3
        Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 63 of 71 PageID #:529



 1   (a)(7)-terminate a term of supervised release and discharge the defendant released at any time
 2
     after the expiration of one year of supervised release . . . if it is satisfied that such action is
 3
     warranted by the conduct of the defendant released and the interest of justice." 18 U.S.C. §
 4
     3583(e)(1). "The language in this statute is discretionary, and the district court has wide
 5

 6   discretion in determining whether to terminate an individual's term of supervised release." U.S. v.

 7   Hook, 471 F.3d 766, 771 (7th Cir. 2006).
 8
                At threshold, the Court finds that as of December 12, 2020, Leventhal meets the one-
 9
     year requirement set forth in section 3583(e)(1). As for Section 3553(a)(1) (the nature and
10
     circumstances of the offense and the history and characteristics of the defendant), the Court notes
11

12   that while the offenses for which Leventhal was convicted are serious, they are non-violent.

13   Moreover, the Court finds significant the Probation Department's representation that Leventhal,
14
     who is 64 years of age, has meaningfully complied with the Judgment of Conviction’s major
15
     terms of supervised release.
16
                The Court also notes from Mr. Leventhal’s sworn, self-authored “Sealed Post Release
17

18   Report” that Leventhal maintains a stable residence, provides nearly 24/7 in-home care for his 95

19   year old mother and is enrolled (with low fee senior citizen status) in a college program leading
20
     to a Bachelor of Science degree in Architectural Engineering. He has performed “tech-temp”
21
     temporary work gainfully on occasion and receives Social Security retirement income. As a full-
22
     time undergrad engineering student, full-time elder caregiver and part time electronics
23

24   technician, Leventhal’s time is fully consumed with pro-social activities. He is under no pressure

25   (like the pressures he was under during commission of his criminal acts) for the daily expenses
26
     of living. None of the commonly widespread deleterious economic harm of the COVID Crisis
27
     have meaningfully affected him negatively, according to him. He and his mother occupy the
28
     OPINION AND ORDER - 4
        Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 64 of 71 PageID #:530



 1   same household, both qualify for and receive full coverage government-funded medical care as
 2
     well as more than sufficient retirement income, so there are no money pressures in the
 3
     defendant’s home. Moreover, Leventhal had no prior criminal history prior to his conviction on
 4
     the present offense. On balance, these factors weigh in favor of early termination.
 5

 6              As for Section (a)(2)(B) (affording adequate deterrence to criminal conduct), the Court

 7   finds that the deterrent value of this case has been fully realized and that there is no longer any
 8
     need to keep Leventhal on supervised release. His offenses were non-violent and he served an
 9
     extended prison sentence. He will be within 8 days after the hearing on this instant motion, of
10
     completing one year towards his term of supervised release. He was compliant was court-
11

12   imposed fees and restitution to the limit of his ability.

13              As for Section (a)(2)(C) (to protect the public from further crimes of the defendant), as
14
     noted above, Leventhal is now less than one year to his 65th birthday. The likelihood of
15
     recidivism by an over-65 offender is very low. See U.S. v. Nellum, No. 2:04-CR-30, 2005 WL
16
     300073, at *3 (N.D. Ind. Feb. 3, 2005) (observing that "under § 3553(a)(2) (c), age of the
17

18   offender is plainly relevant to the issue of protecting the public from further crimes of the

19   defendant.") (citation and internal quotation marks omitted). Moreover the Probation Department
20
     indicates that Leventhal is on low-activity supervision because he qualifies as a low-risk
21
     offender. His current pursuit of college-level education as a freshman among 18 year-olds, 45
22
     years after dropping out of college, indicates newfound humility, pro-social, contributory and
23

24   productive inclinations. His employment and retirement income status indicates that he has

25   returned to a stable environment and therefore presents a lower risk of recidivism. These
26
     considerations weigh in favor of early termination.
27

28
     OPINION AND ORDER - 5
        Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 65 of 71 PageID #:531



 1             As for Section (a)(2)(D) (to provide the defendant with needed medical care), the
 2
     Court notes that Leventhal was materially neglected in terms of medical care for a serious
 3
     medical condition. The sentencing court made it perfectly clear to the Bureau of Prisons that
 4
     Leventhal required specialized medical care while imprisoned. Yet, there is nothing in Bureau of
 5

 6   Prisons records establishing that he received any such care and no such care was provided.

 7   Rather, such care was actively and deliberately denied.
 8
               Although Leventhal states that he was re-certified medically as an FAA-licensed pilot
 9
     after release, according to subsequent medical testing and reports, he suffers serious degradation
10
     and exacerbation of his principal medical condition as a result of neglect while imprisoned,
11

12   according to his physician. The most clear and present consequence of this degradation has

13   arisen from the extraordinarily elevated number of bathroom trips which Leventhal must suffer
14
     daily – which produces the further collateral effect of rendering Leventhal’s earlier-expressed
15
     wish and intent to pursue a post-release career as a flight instructor providing “dual” instruction
16
     in small aircraft without lavatories, nearly impossible and surely impractical.
17

18             While Leventhal may or may not be in the final stages of life, it is likely that medical

19   neglect during incarceration shortened his life expectancy. These considerations also weigh in
20
     favor of early termination. See Nellum, 2005 WL 300073, at *4 (observing that Section
21
     3553(a)(2) requires judges to impose sentences that effectively provide the defendant with
22
     needed medical care) (citation and quotation marks omitted).
23

24             Both the Government and Probation claimed in the previous early termination

25   proceeding that Leventhal has somehow himself been non-compliant, un-cooperative or refused
26
     to comply with the Court’s order regarding mental health care. Rather in fact, Leventhal in terms
27
     of provider encounter frequency has exceeded Probation’s requirement. Moreover Leventhal
28
     OPINION AND ORDER - 6
         Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 66 of 71 PageID #:532



 1   claims that Probation initially assigned an unlicensed, unqualified social worker to him, that said
 2
     social worker was not only one third his age, unfamiliar with patients of his background but also,
 3
     although “a perfectly respectable young woman” not up to the task of providing any useful
 4
     therapy to Mr. Leventhal, according to him. The successor (qualified, licensed) psychotherapist’s
 5

 6   report indicates that Leventhal is in more than full compliance with the court’s sentencing order,

 7   which mandates no particular clinical outcome. Said report also suggests that Leventhal would
 8
     benefit on a clinical behavioral level from termination of supervised release without delay and
 9
     that continued supervision would be harmful to Mr. Leventhal.
10
                Family ties are pertinent under § 3553(a). Nellum, 2005 WL 300073, at *4. Mr.
11

12   Leventhal forcefully claims in numerous filings on record in this court during 2020 that his

13   “cherished relationship with his beloved daughter” was deliberately destroyed by EDNY
14
     Government and Probation personnel – as a quid pro quo provided to Mary Handeland, his
15
     second ex-wife 5 for perjured testimony during the sentencing phase of the EDNY Case.
16

17

18

19

20
     5
       Leventhal claims that his divorce proceeding from Mary Handeland, in Handeland v. Leventhal, Case No.
21   05 D 808, 19th Judicial Circuit Court, Lake County, Illinois was hotly contested and ran as one of the longest
     duration unresolved divorce cases in local history; and that Handeland concealed, among other things, a
22   drug trafficking arrest of herself, a suicide attempt, “decades” of premarital antipsychotic prescription drug
     use and other psychiatric treatment – serious, material, core issues in adoption and nothing of which was
23   disclosed to either the Defendant, the PRC Government or the U.S. State Department prior to international
24
     adoption of Defendant’s daughter in China. Defendant further claims that this failure to disclose constituted
     a federal felony on the part of his ex-wife, under 18 USC § 1001, False Claims in federal proceeding, for
25   the singular purpose of perpetrating theft by deception of enormous sums of money, assets and parental
     rights from Leventhal. Defendant further claims that part and parcel to the quid pro quo delivered to
26   Handeland by the Government and Probation for Handeland’s perjury in this matter, amounted to
     furtherance of concealment of these crimes, by isolating the Defendant in prison for “as long as possible”
27   (see Handeland’s sealed letters to the sentencing judge in record of the EDNY case, during 2016). The court
     takes judicial notice that none of these allegations were denied by the Government in its Doc No. 21
28   response to Leventhal’s first petition for early termination, which particularizes the above allegations.
     OPINION AND ORDER - 7
        Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 67 of 71 PageID #:533



 1             In summary, Leventhal claims that Handeland (adoptive mother of his adopted
 2
     daughter) was coached and suborned to perjury by the EDNY Prosecutor and EDNY Probation’s
 3
     PSR writer to falsely advise the sentencing court 1) That Leventhal’s medical condition was not
 4
     as serious as Leventhal claimed; and 2) That Leventhal presented some sort of threat to his
 5

 6   daughter. Leventhal contradicts and his many personal reference letters support, that for the

 7   entire duration of his adopted daughter’s life while he acted as her father, neither his ex-wife nor
 8
     any other person ever once wrote or uttered a single word to him or about him in the remotest
 9
     way suggesting that he (Leventhal) posed any sort of threat to his daughter – and that rather,
10
     diametrically the opposite is true. This “ludicrous accusation” was concocted by EDNY
11

12   personnel according to Leventhal’s analysis and interpretation, solely for purposes of producing

13   and publicizing Leventhal’s lengthy sentence, to self-promote and self-amplify the prosecutor’s
14
     monetary income in his current, post-public-service private practice - with no basis in fact
15
     whatsoever. The Government denied none of this in its answer to Leventhal’s original petition
16
     for early termination.
17

18             The medical consequences suffered by Leventhal while neglected in prison speak for

19   themselves as to the falsity of the ex-wife’s claim that Leventhal exaggerated assertions about his
20
     medical condition prior to imprisonment. Nothing of Mr. Leventhal’s allegations as summarized
21
     in the above three paragraphs and asserted in his earlier petition have been denied by the
22
     Government; therefore the court is obliged to deem them true. The court must accept as true all
23

24   undenied factual assertions in the (litigant’s) submissions and resolve all disputes regarding

25   relevant facts in the (litigant’s) favor. John Walker and Sons, Ltd. v. DeMert Dougherty, Inc.,
26
     821 F.2d 399, 402 (7th Cir. 1987); Oce-Office Systems, Inc. v. Eastman Kodak Co.,805 F. Supp.
27
     at 643; Neiman v. Rudolf Wolff Co., 619 F.2d at 1190; Hexacomb v. Damage Prevention
28
     OPINION AND ORDER - 8
         Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 68 of 71 PageID #:534



 1   Products, (N.D.Ind. 1995), 905 F. Supp. 557, 560 (N.D. Ind. 1995)]. These considerations weigh
 2
     in favor of early termination, particularly so that Mr. Leventhal may attempt to re-establish
 3
     contact with his daughter while she is still in college and still resides within driving distance of
 4
     him, without further interference by the Probation Department.
 5

 6              As for Section (a)(7) (the need to provide restitution), the Court notes that, according

 7   to his sworn Post-Release Report, Leventhal has paid more than the amount of restitution
 8
     mandated by the terms of supervised release. He expresses a wish and intent to continue paying
 9
     restitution to whatever extent is practical and manageable, directly to his victims regardless of
10
     any order compelling him to do so.
11

12              As to satisfying the principles set forth in the Sentencing Guidelines and 18

13   U.S.C. § 3553(a) regarding the need to avoid sentencing disparities 6 and the principle of
14
     sentencing “not greater than necessary,” the Court takes note of two closely and directly
15
     comparable cases which produced sentences orders of magnitude less harsh than that imposed in
16
     this case. The first, in the same district and court where Leventhal was sentenced is Case No. 11-
17

18   CR-255, United States District Court Eastern District Of New York in United States v. Klein.

19   The second is U.S. v. Matassa, Case No. 17 CR 373 before Judge Matthew Kennelly of this
20
     court.
21
                Matassa’s PSR writer penned the following statement about Matassa: “Defendant is a
22
     Chicago native who had a seemingly normal upbringing 7,” when in fact Matassa and his family
23

24

25

26
     6
       18 U.S.C. Section 3553(a)(6) requires sentencing judges in federal court to consider "the need to avoid
27   unwarranted sentence disparities among defendants with similar records who have been found guilty of
     similar conduct."
28   7
       1:17-cr-00373 Document #: 67, Page 10 of 16 Page ID #:774
     OPINION AND ORDER - 9
         Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 69 of 71 PageID #:535



 1   according to decades of published newspaper reports, were publicly identified innumerable times
 2
     as being high ranking members of a Chicago Organized Crime family. See Chicago Tribune
 3
     article June 22, 2019: “Reputed 'made’ member of Chicago Outfit given 6 months in prison for
 4
     embezzling from union” 8.
 5

 6             Neither Howard Leventhal nor any known member of his family going back to their

 7   immigration into the United States in the late 1800s, had ever once entered a criminal court,
 8
     aside from traffic, claims Leventhal. Matassa stole irreplaceable labor union retirement and
 9
     medical funds for his personal consumption. Leventhal claims that he committed his admittedly
10
     criminal acts to fund an authentic technology development company under desperate
11

12   circumstances in the aftermath of the 2008 stock market crash, while supporting three families

13   including one with a dying (earlier) ex-spouse who needed otherwise unobtainable 24/7/365
14
     care. He also claims that he took extraordinary care to make certain that his victims could
15
     withstand and recover from the losses he produced; not that any of this excuses the criminal
16
     conduct to which the defendant admitted.
17

18             John “Pudgy” Matassa’s age at the time of sentencing was within a few years of

19   Leventhal’s age at sentencing. Both had serious medical issues yet the prosecutor in Matassa’s
20
     case did not waste more than a year of Matassa’s life trying to invalidate the presence of these
21
     issues, as the prosecutor did in Leventhal’s case, producing manifest physical harm in the present
22
     day to Leventhal. Decades of published reports show that Mr. Matassa was a lifelong
23

24   professional criminal from a family of lifelong professional criminals. Matassa was sentenced to

25

26

27
     8
      https://www.chicagotribune.com/news/criminal-justice/ct-reputed-chicago-mob-figure-sentencing-
28   20190722-kahyuutmzvc7jpnu6uqvc6oiz4-story.html
     OPINION AND ORDER - 10
           Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 70 of 71 PageID #:536



 1   6 months versus the 60 month sentence for Leventhal. Matassa’s parent-child relationship was
 2
     not deliberately destroyed by the Government and Probation as a quid pro quo for a confidential
 3
     informant’s perjury, as Leventhal’s was. This comparison establishes a gross and unwarranted
 4
     sentencing disparity of 1,000% when measured in simple numbers. It is exceedingly difficult
 5

 6   however in practical terms, to precisely enumerate the harm caused to Leventhal and his

 7   daughter, by the deliberate destruction of his relationship with his daughter – not suffered by
 8
     Matassa. The Matassa comparison however pales in comparison to Klein.
 9
                  Philip Klein was in the same age range at sentencing as Matassa and Leventhal, also
10
     with serious medical conditions 9. Klein embezzled funds allocated for the support of children
11
     and federal Head Start Program monies. To the extent monies obtained illegally by Leventhal
12
     were not used for bona fide business expenses, the remainder was used (according to Leventhal)
13
     to support an ex-spouse afflicted with Multiple Sclerosis dying in agony and the humiliation of
14
     the loss of body function control; as well as Leventhal’s aged parents, his daughter adopted as an
15

16
     abandoned foundling in China; and Leventhal’s stepchildren. Klein was sentenced to one day of

17   imprisonment – an unwarranted sentencing disparity of 1,825 times or 182,500% versus

18   Leventhal. What explains these disparities? Mr. Leventhal expresses an unsupported misconduct

19   conspiracy theory, however the sentencing disparities speak for themselves to establish that the

20   sentence in Leventhal’s case was far greater than necessary, particular in light of the deliberate
21   destruction of relationship between the Defendant and his only child, which the Government has
22   not denied was planned and executed by EDNY Prosecution and EDNY Probation, among
23   others. It is unsurprising from Leventhal’s viewpoint, that he is repulsed by the thought of any
24   ongoing contact whatsoever with Probation personnel going forward.
25

26

27

28   9
         See “Amended Statement of Reasons” in Klein case, dated December 27, 2011.
     OPINION AND ORDER - 11
          Case: 1:13-cr-00844 Document #: 35 Filed: 11/04/20 Page 71 of 71 PageID #:537



 1             Lastly, the public interest is best served by terminating Leventhal's supervised release
 2   because this will allow the Probation Department to invest the public's limited resources on those
 3   who are truly in need of supervision. Due to the current Coronavirus Crisis especially, Probation
 4
     staffers are quoted on public record 10 stating that an above normal rate of early releases of
 5
     vulnerable prisoners have placed them (probation officers) under an excess, unmanageable
 6
     burden. There is no benefit to be derived by maintaining supervision at public expense over
 7
     someone like Leventhal who has shown himself to be beyond the need for supervision, to have
 8
     been directly harmed by Probation officers without justification or legal basis and to whom some
 9
     minimal opportunity is surely due, to re-establish some manner of contact and relationship with
10
     this daughter, which has been unduly barricaded-against by Probation itself, while reconnection
11
     may remain practicable and possible.
12

13

14                                             CONCLUSION

15             Defendant Howard Leventhal’s Second Motion for Early Termination of Supervised
16
     Release is GRANTED. Accordingly, the Court ORDERS that Leventhal's previously-imposed
17
     period of supervised release is TERMINATED effective 12:01AM, December 12, 2020.
18

19
               SO ORDERED.
20

21
               ___________________________________________
22
               ANDREA R. WOOD
23             UNITED STATES DISTRICT COURT JUDGE
               Date: December 4, 2020
24

25

26

27
     10
       See for example: https://www.themarshallproject.org/2020/04/03/probation-and-parole-officers-are-
28   rethinking-their-rules-as-coronavirus-spreads
     OPINION AND ORDER - 12
